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                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                        January 11, 2024

Clerk - Middle District of Georgia
U.S. District Court
201 W BROAD AVE
ALBANY, GA 31701

Appeal Number: 22-11826-HH
Case Style: Crandall Postell v. Crisp County School District, et al
District Court Docket No: 1:17-cv-00109-LAG

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135          Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




Enclosure(s)
                                                                    MDT-1 Letter Issuing Mandate
